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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ENOCH SMITH (a.k.a., “Rudy Slack”),
et al.,

      Defendants.                                 Case No. 05-cr-30133-07-DRH

                                     ORDER

HERNDON, District Judge:

            Pursuant to the Government’s Motion for Leave to File Instanter (Doc.

299), the Court hereby allows the Government leave to comply with the Court’s

December 29, 2006 Order (Doc. 282). Therefore, the Government’s Motion (Doc.

299) is GRANTED. However, since the Government did not submit any response (as

referenced in its instant Motion) in the proposed documents email folder of the

undersigned in accordance with the manual, it shall file such response immediately

upon receipt of this Order. Further, the Government shall comply with the Court’s

December 29, 2006 Order (Doc. 282) by January 10, 2007.

            As the December 29, 2006 Order instructed, the Government shall:

            (1)     Disclose and provide to defendant Smith’s attorney any and all

                    evidence the Government intends to offer under Federal Rule of

                    Evidence 404(b) (and maintain future compliance with the

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                  Rule); and

            (2)   Pursuant to Federal Rule of Criminal Procedure 16(G), to

                  provide defendant Smith’s attorney with a written summary of

                  any testimony it intends to use in its case-in-chief at trial under

                  the Federal Rules of Evidence 702, 703 or 705.

Again, the Government shall provide this information to Defendant’s counsel by

January 10, 2007.

            IT IS SO ORDERED.

            Signed this 9th day of January, 2007.

                                                     /s/      David RHerndon
                                                     United States District Judge




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